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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            ) Case No. 19-34054 (SGJ)
                                                                )
                                   Reorganized Debtor.          )
                                                                )

                                      CERTIFICATE OF SERVICE

      I, Patrick Leathem, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

       On November 22, 2023, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A, Exhibit B, and Exhibit C; and via First Class Mail upon the service lists
attached hereto as Exhibit D, Exhibit E and Exhibit E:

    •    Highland Capital Management, L.P.’s Notice of Intent to Lift the Stay for the
         Purpose of Prosecuting Claim Objection [Docket No. 3972]

Dated: January 5, 2024
                                                               /s/ Patrick Leathem
                                                               Patrick Leathem
                                                               KCC
                                                               222 N Pacífic Coast Highway, Suite 300
                                                               El Segundo, CA 90245




1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                             EXHIBIT C
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 TX Comptroller of Public Accounts     Accounts                       Bankruptcy Section           PO Box 13258                                                    Austin       TX      78711
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                                                                           Affected Parties Service List
                                                                            Served via First Class Mail


          CreditorName               CreditorNoticeName                 Address1                  Address2           Address3        City       State      Zip       Country
                                                                                            4140 Park Lake Ave,
 CLO Holdco, Ltd.                 Grant Scott, Director         Myers Bigel P.A.            Ste 600                             Raleigh         NC      27612
 Highland CLO Assets Holdings     c/o Maples Corporate          Kingston Chambers, PO                                           Road Town,                       British Virgin
 Limited                          Services (BVI) Limited        Box 173                                                         Tortola                          Island
                                                                                                                                                                 Cayman
 Highland CLO Management Ltd.                                   PO Box 309                  Ugland House                        Grand Cayman            KY1-1104 Islands
 Kane Russell Coleman Logan                                     901 Main Street, Suite                                                                  75242-
 PC                           John J. Kane                      5200                                                            Dallas          TX      1699
                              Hugh G. Connor II, Michael
                              D. Anderson and Katherine         201 Main Street, Suite
 Kelly Hart & Hallman         T. Hopkins                        2500                                                            Fort Worth      TX      76102
                                                                400 Poydras Street, Suite
 Kelly Hart & Pitre               Amelia L. Hurt                1812                                                            New Orleans     LA      70130
                                                                301 Main Street, Suite
 Kelly Hart & Pitre               Louis M. Phillips             1600                                                            Baton Rouge     LA      70801
                                  c/o CO Services Cayman                                    Willow House, Cricket                                                Cayman
 Neutra, Ltd.                     Limited                       P.O. Box 10008              Square                              Grand Cayman            Ky1-1001 Islands
                                  Mazin A Sbaiti, Jonathan
 Sbaiti & Company PLLC            Bridges, Kevin N Colquitt     J.P. Morgan Chase Tower     2200 Ross Avenue        Suite 4900W Dallas          TX      75201
 Schaerr Jaffe LLP                Brian J Field, Erik S Jaffe   1717 K Street NW            Suite 900                           Washington      DC      985577
                                  Deborah Deitsch-Perez,        2200 Ross Avenue, Suite
 Stinson LLP                      Michael P. Aigen              2900                                                            Dallas          TX      75201
                                                                Century House, Ground       Cricket Square, P.O.                                                 Cayman
 The Coastroad Group              Jason Dulude                  Floor                       Box 2238                George Town Grand Cayman            KY1-1107 Islands




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                                                    Counsel to Acis Capital Management Service List
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                      CreditorName            CreditorNoticeName            Address1                  Address2      City   State    Zip
                                                                    Joseph Y. Ahmad, Shawn
                                              Ahmad, Zavitsanos &   M. Bates, Alex Dvorscak,   1221 McKinney St.
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